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Piaimirrs,
vs. No. 05-2353"" g

ROBERT S. RUSSELL and SOUTHERN
FIRE & SECURITY, lNC.,

Det`endants.

 

AGREED PROTECTIVE ORDER

 

In this Cause, it appearing to the Court that the parties have agreed to enter into a
Protective Order to preserve and protect certain information including, but not limited to,
deposition testimony, affidavits or other documents of any nature deemed confidential and
proprietary.

And it appearing to the Court from statements of counsel regarding the appropriateness of
a protective order, and the entire record in this cause, from all of Which it appears to the Court
that based upon the statements of counsel for the parties and with the consent ot` all interested
parties, the motion is well taken and should be granted

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED as follows:

l. Any and all information or documents received from the opposing party
(hereinat°cer “Protected Materials”) through deposition testimony, aftidavits, subpoena, subpoena
duces tecum, request for production of documents, interrogatories or requests to admit shall only

be provided to and reviewed by Plaintiff, Defendants, counsel for Plaintiff and Defendants,

This document entered on the docket sheet in c&n§)£ance ,
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support and clerical personnel and any potential witnesses including, but not limited to,
consulting or testifying experts, who shall not disclose any information or documents relating
in any manner to the above-captioned matter to any other person pending further orders of this
Court;

2. No copies, extracts, notes or summaries of the Protected Materials or any of the
information contained in these Protected Materials shall be made by Plaintiff or Defendants or
their attorneys for distribution or use by anyone other than the persons identified in the
immediately preceding paragraph;

3. lnforrnation considered proprietary and confidential and subject to the Protective
Order shall be designated as such by counsel for Plaintiff and Defendants prior to the disclosure
of such information Nothing in this Order shall prevent counsel for Plaintiff or Defendants from
challenging any such designation by appropriate motion;

4. The contents of the Protected Materials subject to this Protective Order may be
referred to in any pleadings, briefs or memoranda filed With the Court, and the Protected
Materials may be made exhibits to such pleadings, briefs or memoranda, provided, however, that
Plaintiff or Defendants after providing oral, telephonic notice to opposing counsel may request
that any pleading, brief or memorandum that refers to any information contained in any of the
Protected Materials subject to this Protective Order, and any pleadings, brief or memorandum to
which any Protected Materials are attached as an exhibit shall be sealed by the Clerk of the
Court, and that it shall be made public in Whole or in part only pursuant to hirther order of this

Court, after notice to both parties and an opportunity for them to be heard;

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5. Nothing contained herein shall affect or inhibit the right of any party to admit into
evidence at trial any documents protected herein, or to object to the admission into evidence of
any such document; and

6. At the conclusion of the case and after time to appeal has expired Plaintiff and
Plaintiff’s attorneys of record and Defendants and Defendants’ attorney of record shall promptly
return to one another all Protected Materials, including all copies, summaries and abstracts
thereof to the extent that such Protected Materials do not need to be maintained for malpractice

purposes

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MAG]STRATE S. THOMAS ANDERSON

DATED; C;/di.£} OQ, 20<{'

 

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THoMAs Li HENDERSON (#1 1526)l
Counsel for l§efendants

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02353 Was distributed by faX, mail, or direct printing on
.luly 7, 2005 to the parties listed.

 

 

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Honorable .l. Breen
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